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A [last name redacted]
[email address redacted]
Sun, Mar 31 at 6:40 PM

To whom it may concern,

Thank you in advance for taking the time to read this letter which I wholeheartedly
believe to be a valuable perspective to this entire situation.

As a registered democrat with a deeply liberal upbringing and owning an entertainment
business in Los Angeles, I have chosen to keep my identity hidden but could not silently
watch as one of my dear friends and one of the most peaceful kind humans I’ve met in
my life is unjustly treated as a criminal. I first met Antony Vo when we were students at
Indiana University together. He was a little older and as an out of state kid who knew
nobody, he was instantly a dear friend. Our mutual love for music brought us together
but our similar disposition on how to treat people with respect and live life with a sense
of joy and wonder kept us close well beyond our college years.

In the 10 or so years that I have known Antony, I have always viewed him as a man with
pure intentions of being kind and loving to everyone he encounters. He truly is a light in
my life and everyone who I’ve introduced him to.

Antony and I rarely discussed politics, but when we did it was always very calm and
open minded. Although we don’t always agree, we always listen to each other and
respect the differences. When I was made aware of his presence on January 6th, I was
confused as I knew that he would never participate in something so violent and horrible
as the event I saw unfolding from afar through my liberal news intake. After some time,
we got back in touch and I just wanted to make sure that he was okay.


The Antony I know is incredibly peaceful, respectful, insightful and joyful to be around.
 From the bottom of my heart, I believe there is no way that he would've shown up,
brought his mother, photographed it and shared it on the internet if he thought it was
going to become violent or illegal.


It has been difficult to watch someone of such pure moral character who brings such a
light to this world be torn down as part of a political nuance. Antony is a proud first-
generation American who loves his country, respects each and every person he ever
comes into contact with and would never do anything to cause any harm or damage.

Antony is someone that contributes such positivity to this world and the people he
encounters. It’s hard to put into words just how fantastic of a human he truly is and how
positive I am that he would never knowingly do any wrong.

Thank you
